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FlNAL DlSCHARGE ORDER and PAT|ENT lNSTRUCTIONS,,; k d
University Hea|th Care Hospitals & C|inics

       
   
   
    
     
  
  

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Next Provider of Care: (Enter first, last name, and /ocation) %/W¢'“_' /{/{D
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REASON FOR ADM|SS|ON (Diagnosis, Procedure, etc.)

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DlSCHARGE STATUS:
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Lab results to: (name, contact info)
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TREATMENTs/suPPLlEs/AppmoNAL oRDERs if you Shou'd have any Of the following Svmpf°ms»

call your doctor lMMED|ATELY:

 

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Foley catheter (remove, continue, etc.)
_|:l Finger-Stick G|ucose (frequency)

_. ouse Physician to Fo|iow [`_`l PCP (name)__ to follow
|:l Wound care

Oxygen (f/ow rate)_______ if new order document room air sat:

 

 

 

 

 

 

 

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OTHER PAT|ENT lNFORMATlON:
[_`J Additiona| Education Niaterials: (HN fills out)

 

l have been informed and have received the above discharge instructions, information, and separate medication |ist. | have no
questions regarding them Patient/Sign fcant Ot er Date .
l have reviewed the above with the patient/signi icant others who demonstrat understanding Pt instructed to br` g ischarge

instructions and ed list to next olin appointment These have been sent to the next provider of care.
RN Signature Date j ,A A / ,-."< 7
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CERTIF|CAT\ON MED|CARE PAT|ENTS ONLY: l:l Non-Ski||ed Care Does Not Require Certification g Home Hea|th Services U Ski|led Nursing Placemer\t l

l certify that post~hospita| skilled nursing services are required to be given on an inpatient basis or home health services are required because of the above named patients need for skilled nursing
care on a continuing basis for the conditionlsi for which hei'sl'\e was receiving inpatient hospital services prior to his/her transfer or discharge to the facility.

 

 

 

 

Provider's Slgnature: Date:

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University of Utah Hospita|s and Clinics
Salt Lake City. UT

Dlscharge Summary MAGU|RE, BR|AN EDWARD - 02430544
Result Type: Discharge Summary

Service Date: 22 July 2008 00:01

Resu|t Status: Final

Result 'l“rtle: Discharge Summary

Authored By: Poetter . Vrvian on 02 September 2008 10:28

Electronically Signed By: Smith, A Gordon on 04 September 2008 09:41

Dlscharge Summary
34949D|SCHARGE SUMMARY

PAT|ENT NAME: MAGU|RE. BR|AN E

MRN: 2430544

ATTEND|NG PHYS|C|AN: Aibert Gordon Smlth. M.D.
DATE ADM|TTED: 07/16/2008

DATE DISCHARGEDZ 07/22/2008

REASON FOR ADM|SS|ON: Fal| with possible seizure and hemorrhagic stroke.

DiSCHARGE DlAGNOSiS: Cerebral venous thrombosis with hemorrhagic venous
infarct and subarachnoid hemorrhage.

OTHER DiAGNOSES: Atrial fibri|latl°n. hypertension and seizures.

H|STORY OF PRESENT lLLNESS: For complete details. please see the history
and physical dated 07/18/08. ln brief. this is a 59-year-old male.

currently an inmate attire state prison who experienced a ground-level

fali. possibly a seizure and possibly hit his head at the same time. He

was found in an unknown amount of time auer this event occurred and was
taken by EMS to Alts View Hospital. There, he was nmd to have
len-sided weakness, left-sided facial droop and upper extremity greater
than lower extremity lett-sided limb weekness. On imaging swdies, a heed
CT without contrast showed a right penetal perenchymel hemorrhage. An
MRl ot the brain with and without contrast showed a right superficial
venous thrombosis with associated posterior frontal and anterior perletal
hemorrhaglc venous lntarct end a trace subarachnold blood. Head MRA
showed a right penetsl superficial corticsi venous thrombosis with a

patent superior segittal sinus. Repeat head CT on 07/17/08 showed a
slight increase in the size of the right frontoperietal intrapsrenchymal
hemorrhage. Stroke labs were performed including the following,
coagulation labs showed an initial lNR of 1.2 and PTT of 25. D-dimer on
day 2 ofadmlssion wes 13.5. He was found to be heterozygous for fecbr V
Leiden by PCR. At discharqe. he was continued on Coumedin. Lovenox and
Keppra which were started during his hospitalization On discharge M'.
Maguire had improved sorne. He still had dysarthrts and lett facial droop.

lt was ndult to assess his abilities on physical therapy because of
thefectthathewesshsckiedwithannendieg sheckiesandneeded
supervision of two olllcsrs any time he was taken off the shackies. but

Printed by: Dhaliwal, Ravinderjit K Page 1 of 2
Printed on: 3/26/2009 14:21 (Continued)

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University of Utah Hospitals and Clinics
san take ciry, uT

Dlscharge Summary MAGU|RE, BR|AN EDWARD

the physical therapy report from 07/22/08 indicates that he was able to go
from sitting to standing with minimal assist. walk 25 feet with the
moderate assist of 2 peop|e. He was independent on static sitting and
could do left upper extremity exercises sitting and standing. He was
thought to be very motivated towards meeting his goals and the plan was
for him to transfer back to the prison and participate in rehab physical,
OT and speech therapy there.

Probiem #2. Epilepsy. The patient has a history of seizures He was
started on Keppra during his hospitalization at 1000 mg orally b.i.d.

OTHER PROBLEMS: Anticoagulation. Although there was a small amount of
bleeding associated with the stroke, the primary cause was a venous
thrombosis. i-le was anticoagulated with heparin and started on Coumadin 5
mg orally once daily at night. On discharge. he will be bridged with

Lovenox 70 mg subcutaneous q.12h. until his lNR is in the therapeutic

range between 2 and 3. Mr. Maguire will follow up with the prison MD on

his lNR and medication adjustments He will follow up in Neurology
Discharge Clinic in September, and he will follow up with a brain
prior to that appointment

 

DlSCHARGE MEDlCATlONS: Amitriptyline 50 mg orally b.i.d., cyclobenzaprine
10 mg orally b.i.d.. docusate 100 mg orally b.i.d.. senna 17.2 mg orally

b.i.d.. ranitidine 150 mg orally b.i.d., Tylenol 650 mg orally q. 6h. as

needed for headaches. dexamethasone taper 4 mg orally b.i.d. xi day. then

4 mg orally daily x2 days, then 2 mg orally daily x2 days. and then

discontinue dexamethasone. Levetiracetam 1000 mg orally b.i.d., Coumadin

5 mg orally once daily at night. and Lovenox 70 mg subcutaneously q, 12h.
until lNR is therapeutic between 2 and 3.

34949/87127
D: 09/02/2008 10:28:16
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VP/5654030

CC:

Printed by: Dha|iwal, Ravinderjit K
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- 02430544

Page 2 of 2
(End of Report)

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CONSULTATION m l a %_B /

UNIVERSITY op UTAH HosPITALs AND CLINICs
sALT LAKE cITY, UTAH 64132 . ' - .
f . /¢7L{EEc/l
PATIENT Loc¢ Acis MRN¢ 02430544 ~

vISI'I' NUMBER: 142862267 PAT NAME; BRIAN DWARD MAGUIRE

Dos= Aug-25~1948i sEx; M

ACC #: 3294802 REQUESTING MD: RICHARD GARD: , MD
COMPLETED: Aug-27-2008 AT: 0800 ATTENDING MD: STEVEN RICHA EDGLEY. MD

EXAM: MRI BRAIN W/WO CONTRAST BSP II /15ml parmag con

Diagnosis: DISTRIBUTION DATB:Aug-27-2008
____________________________________________________________ r__,_`________

INDICATION: STROKE LIKE SYMPTOMS, NUMBNBSS, MENTAL CONFUSIJN
Additional history includes 60-year-old male with hemorrhagic
infarction related to cortical venous thrombosis.

EXAMINATION: Noncontrasted and contrasted MRI of the brain obtained

an 03/27/2008. /'"“~:~><:~\_
coMPAaISON= c'r 07/17/2009 \MRI of 07/16/2008. ` /,"‘

TECHNIQUE z \____`____ ___W__w__,__.,,/./
MRI of the brain was performed using the following sequen§§s: Sagittal

 

Tl, axial Tl, axial FLAIR, axial T2, axial gradient imagi , axial
diffusion weighted imaging, coronal and axial Tl post ga linium.

FINDINGS:
The previously noted right frontoparietal hematoma is smal er in size
when compared to previous measuring 4.6 cm x 1.8 cm. It i olves the
pre and post central gyri. The degree of surrounding FLAJ_ signal is
also reduced when compared to previous. The signal characoeristics of
the hemorrhage are compatible with a subacute hematoma. 5 me
peripheral hemosiderin staining is noted which demonstrat s
susceptibility artifact on gradient sequences. The previously noted
serpentine region of susceptibility artifact related to the
thrombosed cortical vein is not well appreciated on the c rent
examination and has likely recannulated Associated mass ffect noted
by re ional sulcal attenuation has improved. The midline is central
and t e basal cisterns are patent. No abnormal parenchyma¥,
leptomeningeal or dural enhancement is identified. The ortite,
paranasal sinuses and mastoid air cells are normal.

IMPRESSION: f

EVOLUTION OF RIGHT FRONTAL AND PARIETAL HEMORRHAGIC INFARCTION RELATBD
TO CORTICAL VEIN THROMBOSIS WITH REDUCED MASS EFFECT. NO hEW FEATURES
ARE IDENTIFIED.

APPROVED BY= l
'rasha Ellchuk, rim (r-‘ELLow) /signed by/ Tasha Ellchuk, MD FELLow)
Lubdha Shah, MD /signed by/ Lubdha Shah, MD

I have personally reviewed the images for this examinatior and agree

with the report transcribed.
by Lubdha Shah, MD

TRANSCRIBED BY: POWERSCRIBE INTERFACE
EDITED BY: POWERSCRIBE INTERFACE

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DEPARTMENT OF COMMERCE

Heber M. Wells Building

160 Ea.st 300 South, Box 146741

Salt Lake City, Utah 84114-6741

Telephone: (801) 530-6990 or (801) 530-6945
FA.X: (801) 530-6511

BEFORE THE DIVISION OF OCCUPATIONAL & PROFESSIONAL LICENSING
DEPARTMENT OF COMMERCE, STATE OF UTAH

 

BRIAN MAGUIRE
Petitioner(s)

-vs- DENIAL OF REQUEST FOR
PRELITIGATION HEARING

DR. RICHARD GARDEN, DR. BRUCE BURNHAM

Respondent(s),

 

The Division of Occupational and Professional Licensing ("Division") hereby denies the Petitioner's Request for
Prelitigation Panel Review ("Request") filed with the Division on July 27, 2009 for the reasons set forth herein. The
denial restarts the running of the applicable statute of limitations until an appropriate Request is filed with the Division.
An appropriate Request tolls the statute of limitations until 60 days following the Division's issuance of an opinion by the
Prelitigation panel.

The Division finds that the Request is defective for the reason(s) selected below:

| | The Request was not filed with the Division within 60 days of the Notice of Intent to Commence Action
("Notice") as required by Utah Code Annotated §§ 78B-3-4l6(2)(a) (1994 Cum. Supp.).

[ ] The Request was not mailed to all health care providers named in the Notice and Request as required by Utah
Code Annotated §§ 78B-3-4l6(2)(b) (l994 Cum. Supp.).

| l The Request did not have a certificate of service attached as required by the Utah Administrative Code,
Prelitigation Panel Review Rules, R156-78B-7(3), A "cc" to the respondentdoes not satisfy that requirement.

[ X ] Proof of Service of the Notice of Intent pursuant to §§78B-3-4 12(3)

Dated this OZY:iay of July, 2009.

 
  

   

 

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Prelitigation oordinat

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Utah Department of Corrections

 

T§Tc.ili;rn.£~:cs.r§." Hearing Office
Mutr. rrAr)ooN
Dq,my mm (L¢v¢l rim R¢c¢iv¢d/p¢r¢ stamp¢a; 6 Apn'r 2009) l June 2009

inmate Brian Maguire, USP # l2887, Offender # lO450|
Utah State Prison, Oquirrh 5 HH l2

lnter-facility
RE: Level Three Grievance Number 990871090

l have reviewed your grievance and other relevant infonnation. There is no further administrative review available. lf you are
dissatisfied with this response and wish to take further action, this grievance answer will serve as evidence you have
exhausted the administrative remedy process. Your only recourse is to seek a judicial remcdy.

This level three response is late and l apologize for that l have been ill for several weeks and have fallen behind. Policy has a
built in remedy that allows you to advance to the next level in the process if you do not receive a timely answer at any grievance
level. ln this case, the next level would be to seek a judicial remedy. l am still providing a level three response below. The
information provided may be useful if you have filed or plan to file ajudicia| action.

You bring your grievance to level three complaining that on .lanuary 28, 2009, Clinical Services charged you medical co-pay
fees in the amount of 512.96 for treatment of a disability you suffered as a result of “screw-ups” by medical staff, security
staff and an ambulance service. You request no retaliation from medical staff or others for complaining about how you were
treated on or about July 2, 2008, no further medical co-pay fees be deducted from your account arising from your disability,
immediate acceptance into the Con-Quest substance abuse program, and a copy of this grievance returned with the response.
Your requested remedies are l) no retaliation; 2) no money be subtracted from your inmate account for any medical services
provided since your return to prison July 2,_ 2008; 3) you want to be admitted to the conquest program; and 4) you wanted
copies of all 4 pages when your initial presentation is answered.

l concur with the level one response. Upon your arrival you stated to PA Abbott that you were concerned about withdrawal
symptoms from alcohol abuse. You were started on treatment for withdrawal and then moved to the Infirmary for inpatient
care and observation until you were discharged from the lnfirmary on July l4, 2008. You submitted an Inmate Care Request
(ICR) on July lS, 2008, stating your eoneems, which prompted the med tech to have you see a provider immediately after
reading it. PA Abbott evaluated you and gave you the medication which, in his professional opinion, was appropriate for your
symptoms and recent history. You were also seen the morning of July l6, 2008 by a med tech who had you seen immediately
and taken to the Infirmary. You stated that you were having seizure, (which you claim was inaccurate), but at any rate, you
were having problems but you also indicated that you were conscious and lucid during the entire event. You were seen by Dr.
Tubbs, and were sent to the hospital by ambulance

You complain of an error in your transport Ambulances, with EMS trained attendants, pick up patients at the prison just as
they would if the patient was a member of the community. Once you were in their vehic|e, you were their patient The EMS
providers and medical control chose to divert you to the nearest hospital, which at that time was Alta View Hospital. You
were cared for by them, not prison medical people, and then forwarded to the University of Utah. Once stabilized, you were
returned to prison care.

l have reviewed you records, and there is no indication that you were not given appropriate and adequate medical care. There
is also no indication of retaliation by medical personnel Retaliation is prohibited by policy and all staff are trained in policy
issues and expected to comply with policy. Charging inmates co-pay fees is not retaliation; it is covered by Utah State Statute,
and you will be charged co-payments just like any other inmate. If you believe there were errors in determining the amount of
co-pay fees you were charged, you may send your concerns to the medical co-pay administrator Clinical Services does not
determine admission to custody programs Inmates do not have a right to be admitted to any particular program; entrance into
specific programs is a privilege, not a right; you will have to earn admission to the Con~Quest Program. A copy of your
appeal to me is enclosed with this response. Your other grievance remedies are denied.

‘l'om gnd'er:ron

Hearing Oftice,
Utah Department of Corrections
Tracking #09- l 27

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im Utah Department of Corrections

Administrative Services Bureau

 

TOM PA'l'l`ERSON

Executive Director GREG PEAY
Director
MlKE HADDON
Deputy Director -
Hearmg Offlce

RoBYN wiLuAMs
D°F’"‘Y D"‘°‘°' never mee waived/Date scamp¢d: a september 2009) 28 September 2009

inmate Brian Maguire, USP # 12887, Offender # 104501
CUCF, CF FF 03

lnter-facility
RE: Level Three Grievance Number 99G-08-72370

l have reviewed your grievance and other relevant information. There is no further administrative review available.
If you are dissatisfied with this response and wish to take further action, this grievance answer will serve as
evidence you have exhausted the administrative remedy procees. Your only recourse is to seek a judicial
remedy.

You bring your grievance to level three complaining that you had a stroke that caused some damage which was
still causing you severe pain. Dr. Bumham explained that was “old business” and discontinued your prescription
for Tramadol. You feel Dr. Bumham was indifferent to your medical needs, and was indicating his disdain for you
and your needs. Your requested remedy is to get your prescription for Tramadol back; to be provided adequate
medical treatment without having your manliness challenged by medical staff; and full exhaustion of your
administrative remedies.

l concur with the level one and level two responses to your grievance. You have seen Dr. Bumham on several
occasions. Dr. Bumham was concerned with the way you were taking your drugs. For instance, you were taking
less than half the prescribed dosage of Coumadin. In your grievance to me you state “l no longer take any
Coumadin at all; nor the B.P. medication; nor the dummy pills (Elavil) that I was given to shut me up or down
as the case may be.”

Dr. Bumham offered you Elavil, which you are apparently refusing. Elavil is frequently prescribed for chronic
pain. A fellow I work with had chronic, and painful, back pain and had been living with it for years. He is retired
now from the military, but tells me he was hospitalized for his back pain several times while in the military and he
was prescribed Elavil. He has been on that drug for over 20 years now and is doing well. He told me that Elavil
did make him drowsy and feeling foggy when he woke up for about three to four weeks until his body got used to
it, but it helps him a great deal.

Doctors, like any other professionals, can have legitimate disagreements about appropriate professional courses of
action to take in individual cases. There is nothing in the record that suggests to me that medical staff is being
deliberately indifferent to your medical situation, or have not provided adequate and appropriate medical care. If
you do not take the medication the doctors prescribe as directed, it is no wonder they feel hesitant to give you other
medications When you have demonstrated to them that you will not take your medications as prescribed, why
would you expect them to give you stronger pain medications?

Your grievance remedies are denied.

Torn Z_In¢&rson
Hearing Offlce,

Utah Department of Corrections
Tracking ¢¢ 09-355

GRAMA Classif'lcation - PRIVATE

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ease 2:10-cv-00626-BSJ Documem 17 Fie§l 65520/10 Page 31 of44

mil:f§ Utah Department of Corrections

Administrative Services Bureau

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TOM PATTERSON
Executlve Diroctor GREG PEAY
Director
MllCE HADDON
D¢puty Director Hearing Off'lc e
ROBYN YJ'ILL[AMS
D°P“W D"°'~`°°’ (L¢v¢l 'rhm R¢c¢ived/Dare Smmpe¢h (01 September 2009) 23 September 2009

Inma,te Brian Maguire, USP # 12887, Offender # 104501
CUCF, CF FF 03

lnler-facillty
RE: Level Three Grievance Number 99G-08-72362

I have reviewed your grievance and other relevant informationl There is no further administrative review
available. Ifyou are dissatisfied with this response and wish to take further action, this grievance
answer will serve as evidence you have exhausted the administrative remedy process. Your only
recourse is to seek a judicial remedy.

You bring your grievance to level three complaining that medical co-pay is taking more than 60% of one
credit from your inmate account Your requested remedy is for medical co-pay to restrain themselves to the
60% (per credit) that is provided for in policy and procedure. You want $2.00 back, or a two dollar credit
toward the 60% from your next credit.

I concur with the level one and level two responses to your grievance The level two response spells out the
process quite well. If you have sufficient money in your account to pay for current medical co-pay fees,
money from your account will be taken to pay those fees in full. If there is not enough in your account to pay
for your current medical co-payrnent fees, 60% of the money which comes into your account will be taken to
pay for those that are due and owing, or what Mr. Coulter refers to as “owed deb ." It is very possible to have
a month where money is deducted for current fees to pay them in full, and in that same month 60% of what is
left of your account to be deducted to pay for those co-payment fees which are due and owing.

The Co-Pay Administrator deducted the correct amount There will be no money returned to neither you nor
will you be given credit for future charges or debts.

Your grievance remedies are denied.

‘Tom gn¢{erson
Hearing Oche,

Utah Department of Corrections

Traeking # 09-356

R,ELEASED GRAMA

GRAMA Classification - PRTVATE

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MM Utah Department of Corrections

DIVISION OF INSTITUTIONAL OPERATIONS
State of Utah
THOMAS E. PAT]`ERSON

GARY R. HERBERT EI€Cu!ive Director

Govemar
MIKE HADDON
GREG BELL Depu¢y Director
Lieulenanl Gavemar
ROBYN WlLLIAMS
Deputy Director

 

LOWELL CLARK
Division Director

November 9, 2009

inmate Brian Maguire, # 104501

Centra| Utah Correctional Faci|ity

Dear |nmate Maguire,

The ADA review committee recently reviewed your request for an ADA Assistant to help you with
physical therapy exercises. CUCF Medica| staff provided you with the equipment necessary to

complete your exercises on your own. ¥our request for an assistant is unreasonable at this time.

As always, please do not hesitate to contact me if you have any questions or concerns.
Sincere|y,

J{“Wd/

Angie Stevens
DlO ADA Coordinator

l47l7 South Minuteman Drive, Draper, UT 84020 ' telephone (801) 545-5803' facsimile (801) 545-5805

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REcEivED

Nov 2 5’2009
D|O RECbRDS

RECORDS REQUEST

 

(1)Requester's Name: B[?ir.\y\ MA&\A{RL Date: [/~[%-@q

Agency Name: bfdt§pvv{£:_ ;) Prison Number: (25¢%7 0 73]
' (if inmate)

Mailing Address: C:LLC;E?

EF c”&

(Housing unit if inmate)

 

 

Daytime Phone #:

 

(2) In accordance with the Governmental Records Access Management Act,
' 'I am requesting copies of the following record(s):

 

 

 

l.
2. Indicate t ‘e Utah Department of Corrections division, facility, or
am originating the informati n Arequested
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3. Indicate the approximate year, d;nth, and da the information

requested was entered into the record /[" *`O¢Zj
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4. Indicate, with as much detail possible, the nature of the informa-
tion requested Elge§,: PEQ!ME; mg ih!».`§i 5|§£§5`£,]; Jv\&gm§=§:/c)lr\

    

(3) LEGAL AUTHORITY TO RECEIVE THE INFORMATION
(evidence must be provided)

I am requesting information which I believe to be Public.

I am the subject of the record being requested.

I am the person who provided the information.

I am the parent or legal guardian of the subject of the information.
I have a Power of Attorney from the subject of the information.

I have a Notarized Release from the subject of the information.

I have a Court Order from a court of competent jurisdiction.

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(4) If requested records are classified "Controlled", the requester, who
is a person other than the inmate, shall sign the following:

ACKNOWLEDGMENT

I hereby acknowledge that I am a physician, psychologist, certified social
worker, insurance provider or agent, or government public health agency and
that I will not disclose controlled information to any person, including the
subject of the records, except in response to a lawful order of the State
Records Committee or the district court.

 

 

(signature) (date)

 

 

 

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(5) 1 AFFIDAVIT

[ ] I am requesting copies of records believed by me to be maintained by the
Utah Department of Corrections. I hereby request that any copies of records
requested by me be provided without charge. This request is based on GRAMA,
UCA §63G-2-203(4)(c). I declare that my legal rights are implicated by the
record(s) requested by me and that I am indigent in accordance with FDrlS,
Indigent Status, as of the date of this records request.

 

(6) I have been informed there may be costs for copying and/or
researching the information I am requesting.
l. I certify that the information provided within this document is true
and correct.
Dated this f /2 day of FoR man REQUEsTs.-
(does no need to be notarized)

      
 

    

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(ngnéture of Caseworker)

   
 

(Requester's 'gnature)

 

2. For requests directing records to be released to persons other than
the requesting inmate needs to be notarized.

In the County of , State of Utah, subscribed and sworn to
before me this day of 20

 

NOTARY PUBLIC
Residing at:

Commission expires:

 

(7) DIO USE ONLY
Date request received: By:
Date request released: By:

Date request denied: By:

 

 

 

 

Copying fee(s): Fee(s) waived: (reason)
INMATE REQUESTS: DIVISIONS OTHER THAN DIO DIO REQUESTS send to:
Obtain form from Case & PUBLIC REQUESTS send to: Utah State Prison

Worker Department of Corrections DIO ' ~ 'r
Send completed form to: Bureau of Records DIO '!

Facility which maintains 14717 S. Minuteman Drive P. O.
information being Draper, Utah 84020 Drap

  
 
 

DEC 0 g

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FAclees CT'ONAL
MEDICAL uNrr

requested.

  
    

(Revised ll/2008)

    
   

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DIVISION OF INSTITUTIONAL OPERATIONS
CENTRAL UTAH CORRECTIONAL FACILITY

BUREAU OF MEDICAL SERVICES
REJECTION MEMORANDUM

TO: Brian Maguire OFFENDER # lO4501

ADDRESS: F F 03

FROM: Medical Clen`cal Services
DATE: December l4, 2009.
SUBJECT: Rej ection of Records Request

This office is rejecting your request of information for one or more of the following reasons:

l. ____ You did not submit an authorized Records Request form. (Form is enclosed.)
2. ___ Your Record Request form is not completed correctly:

a. __ You did not sign your Record Request.

b. ____-_ Your signature was not witnessed by your Case

Worker in section six as required.

c. You have not been specific regarding which records, You
must list each record individually, accurately identify the

documents, and speci& dates.

3. _x You are requesting copies and did not attach a Money Transfer Form (MTF) to
pay for the copies.

a. _x_ Your MTF must be made out to the UTAH STATE PRISON, leave
the amount blank (it will be completed by our office based
on the number of pages that are copied for you), you must
sign the form and have it witnessed, or if you are indigent,
please check-mark the Ai`i‘idavit Section (#5) on the reverse
side of the Records Request form.

4. x Other: a._x The information you are requesting is not a medical issue. You

may wish to speak with your caseworker. Nn`s may be an ADA
issue.

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Utah Department of Corrections
DIVISION oF INSTITUTIONAL oPERAnoNs

THOMAS E. PATI`ERSON
Execurive Direcror

 

 

State of Utah MIKE DON
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GAR¥ R¢ m=.RBERT '”"y '""C "’
G°”e""" RoBYN wlLL iAMs
GREG BELL Deputy Direclor
Lieu|enam Govemar
LOWELL CLARK

Division Direcror

December 29, 2009

Inmate Brian Maguire, # 104501
Central Utah Correctional Facility

Dear Inmate Maguire,

I have received your letter dated December 18, 2009 regarding a GRAMA Request submitted on
November 19, 2009. GRAMA Requests do not come through my office and I have not seen this
request. You may submit another GRAMA request and note on the form that the information you
are requesting is generated by the ADA Review Committee and that I should be contacted to
acquire the information.

You give information in your most recent letter that you are too weak to manipulate your body
weight. This information has not been documented by medical staff, please submit a Health Care
Request and request that a Functional Limitation Analysis be conducted. Please note that you will
be subject to all co-pays for this visit. Once medical documentation is provided, the ADA Review
Committee will again, review your request for an ADA Assistant to help you with your physical
therapy exercises.

Additionally, there is no record in O-Track that indicates you were allowed to possess a sling or
additional ACE bandages while housed at Draper Site. If you feel these are items that you require,
you may request to be seen by medical by submitting a Health Care Request as outlined in UDC
Policy FDr18/03.03 (B), Access to Sick Call and request a medical clearance.

As always, please feel free to continue to contact me regarding your ADA Requests.

Sincerely,

 

Angie Stevens
DIO ADA Coordinator

14717 Soulh Minuteman Dlive, qu)er, UT 84020 ' telephone (801) 545-5803 ‘ facsimile (801) 545-5805

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Department of Corrections

THOMAS E. PATTERSON
Execulive Direclor

 

ROBYN WlLLIAMS
State Of Utah Deputy Direclor, Operalions

LOWELL CLARK

JON M‘ H Lx [SMAN’ JR‘ Direclor, Division of [nslitulional Operalions

Govemor

GARY R. HERBERT
Lleulenam Govemor

 

September 2, 2009

Inmate Brian Maguire, #36723 31
Central Utah Correctional Faci|ity ’

Dear Inmate Maguire,

The ADA review committee recently reviewed your request to be allowed access to a word
processor and printer to complete necessary paperwork to the courts for your appeal and pending
divorce. Information that has been provided by the housing unit indicates you have previously been
restricted to such devices because you were completing legal work for other inmates, which is a
direct violation of UDC policy. Additionally, you have a dominant right hand that appears to be
undamaged and functional. As handwritten documents are accepted by the courts, you are not being
denied access. After a review of the available information, the ADA Review Committee believes
the accommodation you have requested is not reasonable at this time.

While an accommodation under the ADA cannot be made at this time, if there are any concerns
remaining that have not been addressed by Clinical Services, please submit a Health Care Request as
outlined in policy FDr18/03.03 (B), Access to Sick Call, or contact us and we will be happy to
consider any additional information you wish to provide. If you feel your needs are not being met,
you may submit an Inmate Grievance as outlined in UDC Policy FDr02. Please do not hesitate to
contact me if you have any questions or concerns.

Sincerely,

ll

Angie evens
DIO ADA Coordinator

14717 South Minuteman Drive, Draper, UT 84020 ' telephone (801) 545-5803 * facsimile (801) 545-5805

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:vtA iga/nl

 

RECORDS REQUEST

 

(l)Requester's Name: [@R¢'AvLiMAA¢/\,‘Rq Date: 0';7\'7(‘0€ ,
Agency Name: ADA /éeua`gb) COMW.`/`],`,§rison Number:
(

1f inmate)
Mailing Address: ibljl `, f r AVV*

 
  
 

 

C»APWK,MNQH€LU Daytime Phone #:
(Housing unit if inmate) tap
(2) In accordance with the Governmental Records Access Manage Act,
I am requesting copies of the following record(s): t 4ZWU9

l. Indicate complete name and prison number (if applicable(QRE@ORDs

subject of the information requested

l:@r'§f§l lgiggc"€f Z£ZZK$ 2 (iO/?"' 3£'7`23/\`

 

 

 

2. Indicate the Utah'Department of Corrections division, facility, or
pro ram originating the information requested
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/
3. Indicate the approximate year, month, and day the information
u d t d ‘ t th e rd ` _
req este was en ere in o e r co _APBQ¢ 6'7 11 Q/Q
4. Indicate, with as much detail s possible, the nature of the informa-
tion requested 0 a '.¢ 7`/ /Eeg a 'g _ amy 5 gal
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(use additi al page as needed)

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J /
(3) ` LEGAL AUTHORITY TO RECEIVE THE INFORMATION
(evidence must be provided)

   

 

am requesting information which I believe to be Public.

am the subject of the record being requested.

am the person who provided the information.

am the parent or legal guardian of the subject of the information.
have a Power of Attorney from the subject of the information.

have a Notarized Release from the subject of the information.

have a Court Order from a court of competent jurisdiction.

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(4) If requested records are classified "Controlled", the requester, who
is a person other than the inmate, shall sign the following:

ACKNOWLEDGMENT

I hereby acknowledge that I am a physician, psychologist, certified social
worker, insurance provider or agent, or government public health agency and
that I will not disclose controlled information to any person, including the
subject of the records, except in response to a lawful order of the State
Records Committee or the district court.

§§

c\
(date) `Z¥>

 

 

(signature)

 

 

 

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(5) AFFIDAVIT

[ ] I am requesting copies of records believed by me to be maintained by the

Utah Department of Corrections. I hereby request that any copies of records

requested by me be provided without charge. This request is based on GRAMA,

UCA §63G-2-203(4)(c). I declare that my legal rights are implicated by the
fo§dg§)i§£ga§sted by me and that I am indigent in accordance with FDrlB,
digent’Statns, as of the date of this records request.

 

(6) I have been informed there may be costs for copying and/Or
researching the information I am requesting.
1. I certify that the information provided within this document is true
and correct.
Dated this i&:§i day of FDR INMATE REQUESTS:

(does not need to be notarized)

Qa}d`f`wwénr , 20 123
, f

  

  
 

   

aseworker)

   

2. For requests directing records to be released to persons other than
the req§esting inmate needs to be notarized.

In the County of , State of Utah, subscribed and sworn to
before me this day of 20 . »

 

NOTARY PUBLIC
Residing at:

Commission expires:

 

(7) DIO USE ONLY
Date request received: By:
Date request released: By:

Date request denied: By:

 

 

 

 

Copying fee(s): Fee(s) waived: (reason)
INMATE REQUESTS: _ DIVISIONS OTHER THAN DIO DIO REQUESTS Send tO:
Obtain form from Case & PUBLIC REQUESTS send to: Utah State Prison

Worker Department of Corrections DIO Records Officer
Send completed form to: Bureau of Records DIO Records
Facility which maintains l47l7 S. Minuteman Drive P. O. Box 250
information being Draper, Utah 84020 Draper, UT 84020
requested.

(Revised ll/ZOOS)

Case 2:10-cv-00626-BS.] Document 17 Filed 09/20/10 Page 42 of 44

Utah Department of Corrections
DIVISION or lenTUnoNAL oPERAnoNs

THOMAS E. PATI`ERSON
Execurive Direcror

 

State of Utah

GARY R. HERBERT
(]avemar

MIKE HADDON
Deputy Direclor

ROBYN WlLLIAMS

GREG BELL Deputy Direcror
Lieulenam Govemar

 

LOWELL CLARK
Division Direcror

October 14, 2009

Inmate Brian Maguire, # 12287
Central Utah Correctional Facility-Fir

Dear Inmate Maguire,

Recently you submitted a GRAMA Request for copies of an ADA Accommodation Request Form
you submitted in june 2009. During our routine review, the ADA Review Committee determined that
a typewriter would not be a reasonable accommodation because your dominant right hand is not
affected and you are still able to present legible documents to the courts, Board of Pardons, etc. We
also received information that you have completed legal work for other inmates in the past, which is a
direct violation of UDC Policy and creates a security threat. It was later brought to out attention that
this information is incorrect. I apologize for any inconvenience you may have experienced due to this
error.

At this time, the ADA Review Committee has decided to review your request again, without
considering the incorrect information. Our next meeting is scheduled for October 27, 2009. You will
receive a letter to notify of the outcome of our review after that date.

Once again I apologize for any inconvenience. If you have any additional information you would like

to provide to the ADA Review Committee, you may send it to my attention.

Sincerely,

 

An'e Stevens
DIO ADA Coordinator

CC: john Irons, Deputy Warden-CUCF
Mary Ann Reding, Captain-DIO Records

l47l7 South Minuteman Drive, Draper, UT 84020 ' telephone (801) 545-5803 ' facsimile (801) 545-5805

 

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AH DEPARTMENT

'l .I‘ Dl0 Records office

CORRECT|ONS
Utah State Prison

  

UTA
OF

To: Brian Maguire OFF#104501
From: Lisa Neilson, DIO Records
Subject: Your Records Request
Date: October 29, 2009

Mr. Maguire,

There are no records to provide in response to your request. Ms. Stevens provided a
sufficient explanation to cover this request and as such there is nothing more that this
office can add as a response.

Thank you,

Lisa Neilson
DIO Records
Utah State Prison

 

 

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wm Utah Department of Corrections

DIVISION OF INSTITUTIONAL OPERATIONS

State of Utah
THOMAS E. PATTERSON
GARy R_ HERBERT Execu!ive Direc!or
Goverm)r
MIKE HADDON
GREG BELL Deputy Direcror

Lleulenanl Govemor

ROBYN WlLLIAMS
Deputy Direcror

 

LOWELL CLARK
Division Direc!or

November 9, 2009

|nmate Brian Maguire, # 104501
Centra| Utah Correctional Faci|ity

Dear |nmate Maguire,

The ADA review committee recently re-reviewed your request for a typewriter. We were not
presented with additional information that defined any subjective limitations or a change in your
condition since our previous review. lf you would like to further pursue obtaining a typewriter via
ADA please provide with us medical documentation which details a change in your condition.
Unti| we have received further information we will continue to stand on our previous
recommendation of not approving the typewriter based on your right hand being undamaged,
functional and your dominant writing hand. Since the courts accept hand written documents we
feel that you are adequately receiving access to them through written correspondence

Please do not hesitate to contact me if you have any questions or concerns.

Sincerely,

il

Angl Stevens
D|O ADA Coordinator

l47l7 Soulh Minuleman Drive, Draper, UT 84020 ' telephone (801) 545-5803' facsimile (801) 545-5805

